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                IN THE UNITED STATES DISTRICT COURT FOR THE
                           SOUTHERN DISTRICT OF GEORGIA
                                       AUGUSTA DIVISION


UNITED STATES OF AMERICA                       *
                                               *


        v.                                     *                              CR 112-257

KIMBERLY BROGDON                               *




                                        ORDER




        Presently      pending        before       the    Court          is    Defendant's         motion

for a nunc pro tunc designation and transfer to federal prison.

(Doc. no.      135.)     For the reasons set forth below,                             this motion is

DENIED.




                                        I.    BACKGROUND


         On   October     2,    2013,       Defendant         was       sentenced       to   36    months

imprisonment       in     the    custody           of    the       United       States       Bureau    of

Prisons.        (Doc.    no.     99.)        On January             21,       2014,    Defendant      was

sentenced on unrelated state charges                               to    24   months     imprisonment

in Florida state prison.                     (Doc.      no.    135       at    6.)     Defendant was

transferred      to     the     Florida       Department            of     Corrections        to    begin

her state sentence on March 11,                      2014.          (Id.      at 1-2.)       On May 5,

2014,    Defendant       filed        the    above-referenced                 motion.        (Doc.    no.

135.)         Defendant        asks    the     Court          to    order       a     nunc    pro    tunc

designation directing             that       her     federal            sentence      run    concurrent
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with her state sentence and that she be transferred to federal
prison.        (Id. at 2.)        Defendant is currently confined at the
Gadsden Correctional Facility in Quincy, Florida.



                                  II.   DISCUSSION


         A court may not modify a sentence once it has been imposed

however.       18 U.S.C.      § 3582(c).        In particular,         neither Federal

Rule of Criminal Procedure 36 nor U.S.S.G.                       § 5G1.3 permit the

requested relief.          Matters of credit for time served and other

length    of   sentence       determinations       are better          directed    to   the

Bureau of Prisons         ("BOP") and not this Court.                  Indeed,    the BOP

has the power to designate the housing state facility nunc pro
tunc as the place of federal confinement so that a defendant may

gain credit against a           federal sentence for             the time served in

the    state   facility.        However,       this   is   a    decision within         the

discretion of the BOP.1

       Moreover,     any judicial challenge to the BOP's decision must

be brought under 28 U.S.C.          § 2241 in the district of confinement

rather    than     in   the    sentencing      court.          Thus,    to   pursue     her

claims,    Defendant would need to file a section 2241 petition.

          Of note,   at the time of sentencing in this case, Defendant had not
yet been sentenced in the state court.           Thus,   the Court made no mention of
whether the federal sentence should be concurrent or consecutive.                That said,
Defendant's state sentence is on an offense that does not arise from the same
operative facts.  That is, Defendant was sentenced in state court to criminal
conduct unrelated and distinct from the criminal conduct underlying the
instant charge.  Accordingly, had the state sentence been in place at the
time the federal sentence was imposed,         this Court would have run the federal
sentence consecutive to any state sentence.
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Yet,    even if the Court were to liberally construe Defendant's

motion as a section 2241 petition,         it would be dismissed for

lack of jurisdiction because it was not brought in the district

in which Defendant is incarcerated - the Northern District of

Florida - and because Defendant has failed to show that she

exhausted her administrative remedies.            See United    States v.

Pruitt, 417 Fed. Appx. 903, 904 (11th Cir. 2011).



                            III.   CONCLUSION


        Based on the foregoing, Defendant's motion (doc. no.            135)
is DENIED.


        ORDER ENTERED at Augusta, Georgia this ^< / """day of August,
2014.




                                        HONORABLE J. RAWDAE HAL]
                                       UNITE]? STATES DISTRICT JUDGE
                                                3RN DISTRICT OF GEORGIA
